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                                   3                                   UNITED STATES DISTRICT COURT

                                   4                               NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7     TEVA PHARMACEUTICALS USA, INC.,                    Case No. 24-cv-03567-BLF
                                   8                      Plaintiff,
                                                                                            ORDER DIRECTING PARTIES TO
                                   9               v.                                       SUBMIT CHAMBERS COPIES
                                  10     CORCEPT THERAPEUTICS, INC., et al.,                [Re: ECF 39, 49, 50, 65]
                                  11                      Defendants.

                                  12
Northern District of California
 United States District Court




                                                 The Court has not yet received chambers copies of: 1) Plaintiff’s Amended Complaint (ECF
                                  13
                                       39); 2) Plaintiff’s Opposition/Response re Defendants’ Motion to Stay Discovery Pending
                                  14
                                       Resolution of Forthcoming Renewed Joint Motion to Dismiss (ECF 49); 3) Defendants’ Reply re
                                  15   Defendants’ Motion to Stay Discovery Pending Resolution of Forthcoming Renewed Joint Motion
                                  16   to Dismiss (ECF 50); and 4) Plaintiff’s Opposition/Response re Defendants’ Joint Motion to
                                  17   Dismiss Teva’s First Amended Complaint with Prejudice (ECF 65). The Court ORDERS the parties

                                  18   to submit chambers copies of the above filings and their supporting exhibits and declarations in
                                       accordance with this Court’s Standing Orders Re Civil Cases § IX be received by the Court no
                                  19
                                       later than November 18, 2024. The parties are reminded to comply with § IX.C, which states that
                                  20
                                       “[w]hen all or a portion of a filing has been sealed, the chambers copy of that filing shall contain a
                                  21
                                       complete set of unredacted briefs and exhibits.” Standing Order Re Civil Cases § IX.C (emphasis
                                  22   added).
                                  23
                                                 IT IS SO ORDERED.
                                  24

                                  25
                                       Dated: November 13, 2024
                                  26
                                                                                        ______________________________________
                                  27                                                    BETH LABSON FREEMAN
                                                                                        United States District Judge
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